                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO

In re:                                           Chapter 7
                                                 Case No. 1:18-bk-12585
Suzanne Bair,
                                                 Judge Beth A. Buchanan
               Debtor.



Barestone, LLC, et al.                           ADV. PRO. NO. 1:18-ap-01062

               Plaintiffs

         v.

Suzanne Bair,

               Defendant-Debtor.



                  DEBTOR’S MOTION FOR SUMMARY JUDGMENT



         Debtor Suzanne Bair moves for summary judgment on all claims by plaintiff-

creditors Kingston Development and Barestone LLC. The claims are barred by one or

more of the doctrines of res judicata, judicial estoppel, mootness, or the single

satisfaction rule. In brief, by order of the Hamilton County Court of Common Pleas and

at Kingston’s request, Kingston was paid several thousand dollars “in satisfaction” of

its claims arising out of the same transaction, or common nucleus of operative facts, that

forms the basis of this action. Because those claims were adjudged to have been




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satisfied, Kingston—and Barestone, as privy of Kingston—are barred from raising them

a second time and seeking a double recovery in this action.

         I.      Res judicata bars relitigation of resolved claims.

       “Res judicata” is often imprecisely used to refer to two distinct concepts—claim

preclusion (sometimes itself called “res judicata,” or “estoppel by judgment”), and issue

preclusion (sometimes called “collateral estoppel”).

       Claim preclusion bars an action if the same parties or their privies previously

litigated a case based on or arising out of the same “transaction,” or “common nucleus

of operative facts.” O’Nesti v. DeBartolo Realty Corp, 113 Ohio St.3d 59, 2007-Ohio-1102,

¶6; Grava v. Parkman Twp. (1995), 73 Ohio St.3d 379, 382. In essence, where a claim either

was or “could have been litigated in the previous suit, claim preclusion also bars

subsequent actions on that matter.” O’Nesti at ¶6.

       Issue preclusion (sometimes called “collateral estoppel”) is more broad—it

“serves to prevent relitigation of any fact or point that was determined by a court of

competent jurisdiction in a previous action between the same parties or their privies.”

O’Nesti at ¶7.

       While state-court decisions have no preclusive effect on the ultimate question of

dischargeability (because of bankruptcy courts’ exclusive jurisdiction to make that

determination) state-court decisions do give rise to claim preclusion on the question of

liability, and also give rise to issue preclusion with respect to any other issue finally



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adjudicated in prior litigation between the parties or their privies. See, e.g., In re Freeman,

68 B.R. 904, 906-907 (M.D. Penn. Bankr. 1987).

         II.    These plaintiff-creditors have raised these claims before.

        The complaint in this case generally alleges that Debtor used a company called

Bair Build to defraud plaintiff-creditors Kingston and Barestone; Kingston and Bair

Build are the members of Barestone, which is alleged to have been formed to develop

property on Republic Street in Cincinnati.

        This is not the first case in which Kingston and Barestone raise those

allegations—it is at least the fourth.

        The first time Kingston and Barestone raise those allegations was in the Hamilton

County Common Pleas court, in a case titled Barestone, LLC, et al. v. Bair Build, LLC, et al.,

number A1704728 (Barestone I). Indeed, Kingston and Barestone disclosed the existence

of Barestone I by attaching a copy of the first amended complaint in that case as Exhibit

E (doc. 1-5) to the complaint in this case.1 Kingston and Barestone are the plaintiffs in

Barestone I and Debtor is one of the defendants. The complaint alleges several claims,

including fraud and fraudulent transfer, all in connection with the development of the

Republic Street property. What Kingston and Barestone have failed to disclose is the

subsequent “satisfaction” of those claims; see below.



1
  Doc. 1-5 is the first amended complaint in Barestone I. The plaintiffs in that case subsequently filed a
second amended complaint. A copy of the second amended complaint in Barestone I is authenticated in
the Nye Declaration (Exhibit 1 to this motion) and attached to this motion (Exhibit 2).


                                                      3
       The second time Kingston and Barestone raise these allegations was also in the

Hamilton County Common Pleas court, this time in a case titled Union Savings Bank v.

Barestone, LLC, et al., number A1706729 (Barestone II). This time the relevant allegations

were in a cross-claim and third-party complaint, and a copy of that pleading is

authenticated in the Nye Declaration and attached to this motion as Exhibit 3. Once

again Debtor is one of the cross-claim or third-party defendants and once again the

pleading alleges claims such as fraud and fraudulent transfer, all in connection with the

development of the Republic Street property. In fact, Barestone II explicitly re-raises the

claims that Kingston and Barestone already raised in Barestone I—the Barestone I

pleading was attached to the Barestone II cross-claim/third-party complaint and

“incorporate[d] by reference”—meaning that Barestone II raised the same claims relating

to the creation of Barestone and the development of the Republic Street property as

Barestone I. And, the relief sought in Barestone II was a judgment against Debtor and Bair

Build “as prayed for in [Barestone I].” See Nye Declaration ¶4, and Exhibit 3 (Barestone II

cross-claim and third-party claim) at ¶1 (attaching and incorporating Barestone I

pleading) and at pages 5-6 (prayer for relief in Barestone II).

       The third time Kingston and Barestone raise these allegations was in another

chapter 7 case in this District—that of Debtor’s son, DJ Bair. Kingston and Barestone

filed a nondischargeability action against DJ Bair (no. 1:18-ap-1022) raising all the same

claims, such as fraud and fraudulent transfer, all in connection with the development of



                                              4
the Republic Street property. See Nye Declaration at ¶6, and Exhibit 5. The court

dismissed that complaint. See Nye Declaration at ¶7, and Exhibit 6.

        That brings us to this case—the fourth time (at least) that Barestone and Kingston

have raised fraud and fraudulent transfer (among other) claims relating to the

development of the Republic Street property. It is important for the Court to

understand the degree of overlap between this case, Barestone I, and Barestone II. For

starters, both this case and Barestone II expressly “incorporated by reference” all the

allegations in Barestone I. See Complaint, Doc. 1, at ¶60-61 and Exhibit E; Nye

Declaration at ¶4, and Exhibit 3 (Barestone II cross-claim and third-party claim) at ¶1.

        But even if not for the incorporation by reference, the complaints were already

substantively identical. For example, the operative complaint 2 in Barestone I contains a

section titled “Facts Common to All Claims,” which starts at ¶10 and spans about forty

paragraphs. That section of the Barestone I complaint is either verbatim3 or nearly

verbatim4 to paragraphs 15 through 59 of the complaint in this case.



2
  The Barestone I pleading that was incorporated by reference was the first amended complaint. About
two weeks after this action was filed, Barestone and Kingston filed a second amended complaint in
Barestone I. This section of the brief discusses that second amended complaint.
3
  The term “verbatim” here includes paragraphs that are identical except for the different use of defined
terms. For instance, 34 of the 35 words in ¶10 of the Barestone I complaint match ¶15 of the complaint in
this case—the only difference is that Barestone I refers to the construction on Republic Street as the
“Properties” and this case refers to it as the “Project.” Debtor treats those as verbatim in this discussion.
Another example is that parties are named with subtle differences—e.g., Debtor is referred to as “Bair” in
this case and “Suzanne” in Barestone I. This list is not exhaustive; there are other similar substitutions.
But in each case the substance remains the same.
4
  “Nearly verbatim” means that the substance is the same, but that one of the documents contains a
sentence or phrase that is missing from the other document.


                                                      5
     The following table correlates the two pleadings and cases:

This paragraph of this   … matches this paragraph of the   Notes
case’s complaint...      Barestone I complaint

15                       10                                Verbatim

16                       11                                Verbatim

17                       13                                Verbatim

18                       14                                Verbatim

19                       15                                Nearly verbatim

20                       16                                Verbatim

21                       17                                Nearly verbatim

22                       18                                Verbatim

23                       19                                Verbatim

24                       20                                Verbatim

25                       21                                Verbatim

28                       22                                Verbatim

29                       23                                Verbatim

30                       24                                Verbatim

31                       25                                Verbatim

32                       26                                Nearly verbatim

33                       27                                Nearly verbatim

34                       28                                Nearly verbatim

35                       29                                Verbatim

36                       30                                Verbatim

37                       31                                Verbatim

39                       32                                Nearly verbatim

40                       33                                Nearly verbatim

41                       34                                Verbatim



                                            6
    42                      35                                  Verbatim

    43                      36                                  Verbatim

    44                      37                                  Verbatim

    46                      38                                  Verbatim

    47                      39                                  Verbatim

    48(a)-(h)               40(a)-(h)                           Verbatim

    49                      41                                  Verbatim

    50                      42                                  Verbatim

    51                      43                                  Verbatim

    52                      44                                  Verbatim

    53                      45                                  Verbatim

    54                      46                                  Verbatim

    55                      47                                  Verbatim

    56                      48                                  Verbatim

    57                      49                                  Verbatim

    58                      50                                  Nearly verbatim

    59                      51                                  Verbatim




         As the Court can see, it is indisputable that the facts and circumstances on which

this non-dischargeability action are based are identical to the facts and circumstances

underpinning Barestone I. They are also identical to the facts and circumstances

underpinning Barestone II, as Kingston and Barestone’s cross-claim/third-party

complaint in Barestone II expressly incorporated Barestone I.




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       III. The claims were satisfied by order of the state court.

       When Kingston and Barestone re-asserted their claims in Barestone II, they did so

in a cross-claim and third-party complaint within a foreclosure action on the Republic

Street property. The Barestone II court issued its judgment, which included a decree in

foreclosure, in the spring of 2018. The property was sold at sheriff’s sale. Liens were

paid off and there were excess funds available.

       Kingston, which was represented in Barestone II by the same counsel that

represents it here (and the same counsel that represented Barestone in all these cases),

asserted that it was entitled to the excess proceeds of the sheriff’s sale. At its request, the

Barestone II court entered an order directing that the excess proceeds be paid to

Kingston “in satisfaction” of its claims on “the real property that was the subject of the

action in [Barestone I].” See Nye Declaration at ¶5, and Exhibit 4.

       The “real property that was the subject of the action in [Barestone I]” was, of

course, the same Republic Street property on which the claims in this case are based. As

discussed above, ¶15 of the complaint in this case defines “1531 and 1533 Republic

Street” as the “Project” that was allegedly fraudulently mismanaged by Debtor. That

Order—which was prepared and tendered by Kingston’s counsel—is clear that all

claims are satisfied—not merely some claims, and not merely partially satisfied.




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       IV. The satisfaction order in Barestone II bars the assertion of the claims now.

       The Barestone II court’s order that the claims were satisfied prevents the re-

assertion of the claims in this proceeding; they are barred by claim preclusion or issue

preclusion. That’s what happened in Goforth v. Le-Air Molded Plastics, Inc., Ohio App.

8th Dist. Cuyahoga no. 83585, 2004-Ohio-3482. The Goforth parties initially litigated

claims and counterclaims connected with a stock purchase agreement. Id. at ¶3. After

some months of litigation, in October 1996 the trial court journalized an order which

said in part that “All claims” were “fully satisfied.” Id. at ¶19 n. 13.

       Later, Goforth raised new claims in a second lawsuit, but relating to the same

subject-matter as the first. Le-Air moved for summary judgment, arguing that the

second lawsuit was barred by res judicata. The trial court granted the motion, and the

court of appeals affirmed, writing that Goforth’s “claims are barred by res judicata; her

claims should have been presented in” the earlier case. Id. at ¶16. The appellate court

explained that the trial court’s order that the claims were “fully satisfied” meant that

the case was closed, res judicata attached, and future claims were barred. Id. at ¶19. For

good measure, the court also said that it would have rejected the claims under other

similar doctrines such as waiver or laches. Id. at ¶20.

       The same result must be reached here. The Barestone II court’s order expressly

states that the money paid to Kingston was “in satisfaction of” the claims asserted in

Barestone II, which (as discussed above) were the same claims as those asserted in



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Barestone I and this case. Those claims have been “satisf[ied]” pursuant to the Barestone

II court’s order, and res judicata prevents them from being raised now.

       For good measure, other doctrines similar to res judicata would require the same

result. Judicial estoppel “prevents a party from contradicting previous declarations

made during . . . an earlier proceeding if the change in position would adversely affect

the proceeding or constitute a fraud on the court.” Black’s Law Dictionary (deluxe 9th

ed. 2009) at 631. Put differently, judicial estoppel “estop[s] a person who accepts the

fruits of a judgment from denying its validity.” 42 Oh Jur 3d, Estoppel and Waiver, §56.

Judicial estoppel surely applies here; the Barestone II order indicating that the claims

were satisfied was indeed a declaration of Kingston, inasmuch as the order was

prepared, tendered, and endorsed by its counsel of record.

       Alternatively, the Barestone II order could constitute a judicial admission—i.e., a

“formal statement[], made by a party or a party’s counsel in a judicial proceeding, that

act as a substitute for legal evidence at trial.” Haney v. Law, Ohio App. 1st Dist.

Hamilton no. C070313, 2008-Ohio-1843, ¶7. Moreover, a satisfied claim is nonjusticiably

moot, because it no longer represents an active case or controversy. And of course the

single-satisfaction (or one-satisfaction) rule is the bedrock principle that a claimant “can

have but one satisfaction of his claim.” Losito v. Kruse (1940), 136 Ohio St. 183, 187-188.

       Whatever doctrine best fits the scenario, they all compel the same result—

Kingston’s claim has been satisfied and cannot be raised here.



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       V. The satisfaction applies to both plaintiff-creditors.

       Finally, the satisfaction applies to Barestone too, because of the privity between

Barestone and Kingston. Parties are “privies,” or “in privity” with one another, if they

have “a mutuality of interest, including an identity of desired result” with each other.

Kirkhart v. Keiper, 101 Ohio St.3d 377, 2004-Ohio-1496, ¶8. Privity extends not only

between aligned parties, but also between parties and their counsel: “attorneys who

represent a party in an earlier action are privies with that party in a subsequent action.”

533 Short N. LLC v. Zwerin, Ohio App. 10th Dist. Franklin no. 14AP-1016, 2015-Ohio-

4040, ¶37.

       Here, Kingston and Barestone are inextricably aligned and connected. In each of

the four actions—Barestone I, Barestone II, DJ Bair’s chapter 7 case, and this case—they

asserted the same claims arising out of the same transaction. They were represented in

all four proceedings by the same counsel. Perhaps most importantly, throughout their

filings in all four cases, Kingston and Barestone frequently do not bother to distinguish

between themselves, and never do so with respect to any individualized claim, harm,

damage, or remedy. Instead, the complaint in this case (and indeed in the others) refers

nebulously to the “Plaintiff-Creditors,” treating Kingston and Barestone as a single

entity. There is no claim which is alleged by only one of them—they are always treated

jointly or interchangeably. This is the epitome of “a mutuality of interest” and “an




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identity of desired result.” Kingston and Barestone thus are in privity for purposes of

res judicata, and they are both precluded from re-asserting the satisfied claims.

      VI. Conclusion

      The claims of plaintiff-creditors Kingston and Barestone were satisfied when, at

their request, the Hamilton County Common Pleas Court in Barestone II ordered

distribution of funds to Kingston. They have no claims that they can assert or raise here.

Debtor is entitled to summary judgment.

                                         Respectfully submitted,

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                              CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing was served on November 21, 2018
upon the U.S. Trustee and on all registered ECF Participants, electronically through the
court’s ECF System at the email address registered with the Court:

                                         /s/ Paul T. Saba
                                         Paul T. Saba, Esq. (0063723)




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